         Case 5:19-cr-00905-DAE Document 140 Filed 09/09/21 Page 1 of 1



                           UNITE) STATES DISTRICT COURT                                F,1
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION
                                                                                                    0
                                                                                          0
                                                                                              202,
United States of America                       §
                                               §      Case Number
vs                                             §      SA 19-CR-00905(2)-DAE
                                               §
(2) Nancy Almaguer                             §


                             ORDER SETTING SENTENCING

    IT IS HEREBY ORDERED that the above entitled and numbered case is set for
SENTENCING before Senior U.S District Judge David A. Ezra in Courtroom 5, on the Third
Floor of the John H. Wood, Jr. United States Courthouse, 655 East Cesar E. Chavez Boulevard,
San Antonio, Texas on Monday, November 29, 2021 at 9:00 AM Sentencing memoranda and
motions relevant to the sentencing hearing must be submitted to the Court no later than 7 days
 nor to the sentencing hearing.

     It is further ORDERED that the Clerk of Court shall send a copy of this order to counsel for
defendant, the United States Attorney, United States Pretrial Services and the United States
Probation Office. Counsel for the defendant shall notify the defendant of this setting and, if
defendant is on bond, advise defendant to be present at this proceeding.

     IT IS SO ORDERED.

     DATED: San Antonio, Texas September 09, 2021.




                                               ELIZABPfH S. ("BETSY")               NEY
                                               UNITED STATES MAGIST                JUDGE
